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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

SAIFULLAH PARACHA,                           :
                                             :
               Petitioner,                   :
                                             :       Civil Action No. 04-2022 (PLF)
                                             :
       vs.                                   :
                                             :
DONALD J. TRUMP, et al.,                     :
                                             :
               Respondents.                 :

                                  JOINT STATUS REPORT

       Pursuant to this Court’s August 1, 2017 Order, the parties submit this joint status report

regarding Petitioner’s three pending discovery motions. (Dkt. 470).

       On November 15, 2017, Petitioner sent a classified letter to the government requesting

additional discovery based on the updated disclosures. Petitioner’s counsel reviewed the

government’s response on February 27, 2018. In its response, the government states it is reviewing

documents to determine if some of the requested information is available. Additionally, the

government has identified potentially exculpatory information for which it intends to move for an

exception to disclosure under Section I.F. of the Case Management Order (“CMO”).

       On February 23, 2018, Petitioner filed a motion to compel the government to produce an

unclassified version of the amended factual return, pursuant to CMO Section I.C. (Dkt. 472). The




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government opposes the motion and asserts the unclassified version will be available to

Petitioner’s counsel by mid-April 2018. (Dkt. 483, page 3).

       Petitioner is not currently in a position to determine if the pending discovery requests are

moot. Based on the government’s response to Petitioner’s request for additional discovery,

Petitioner may receive additional disclosures. Moreover, undersigned counsel has been unable to

review the factual return with Petitioner. Without reviewing all of the disclosures and discussing

the allegations in the factual return with Mr. Paracha, undersigned counsel cannot agree

Petitioner’s pending discovery requests are moot. For this reason, Petitioner respectfully request

this Court set a deadline for another status report on or before July 2, 2018.

       For its part, the government believes that Petitioner’s requests in section I of its Motion for

Supplemental Discovery (Mar. 31, 2016) (see ECF No. 426), which seek discovery under section

I.E.1 of the Case Management Order as amended, 1 are moot for the reasons stated in its opposition

to that motion. See Resps.’ Combined Opp’n to Petr.’s Discovery Mots. (Oct. 14, 2016) (see ECF

No. 455). In brief, Petitioner’s requests under section I.E.1(1) seek inculpatory information upon

which the government does not intend to rely and, so, are irrelevant here. And Petitioner’s requests

under section I.E.1(3) for the circumstances of Petitioner’s statements have been complied with.



Respectfully submitted,

 STEPHEN C. NEWMAN                                CHAD A. READLER
 Federal Public Defender                          Acting Assistant Attorney General

 /s/ CATHERINE J. ADINARO                         JENNIFER D. RICKETTS
 CATHERINE J. ADINARO (OH:0088731)                Branch Director

       1
        See Case Mgmt. Order (Nov. 6, 2008) (ECF No. 204), as amended by Order (Dec. 16,
2008) (ECF No. 219), and as further amended by Order (July 16, 2009) (ECF No. 308).


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2018, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic receipt. All other parties will be served by regular U.S. mail.



                                               /s/ CATHERINE J. ADINARO
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